
Laramore, Judge,
delivered the following opinion and announced the judgment of the court:
Plaintiff, a Beserve Lieutenant Colonel, was called to a tour of duty in 1947. He claims that during this tour of duty he contracted multiple sclerosis and that, on the termination of this duty on August 1, 1948, he should have been retired for physical disability and, accordingly, alleges he is entitled to disability retirement pay from that date.
The pertinent facts briefly are these: Plaintiff served as a member of the Officers’ Beserve Corps of the Army from January 18,1941, to June 14,1946. On September 5,1947, he was ordered to “active * * * training” at the Military Police School. He was to attend the advanced class starting October 13, 1947, and revert to an inactive status on August 1, 1948.
The orders under which plaintiff reported and served until his reversion to an inactive status on August 1, 1948, read as follows:
1. By direction of the President you are ordered to active duty training and assigned to Org Bes Tng Det, *495Headquarters, Eastern Pennsylvania Military District, for record purposes only, with station as indicated in (a) below:
a. Station- Carlisle Barracks, Pa.
b. School-The MP School
c. Class No. and Course— #1, MP Officers Advanced
d. Starting date of class_13 October 1947
e. Date of rank_24 May 1946
f. Effective date of active duty-6 October 1947
g. Date you revert to inactive status_1 August 1948
h. Days of leave author-ized_ 22
sfc ‡ %
The travel directed is necessary in the military service. Permanent change of station. 2181505 852-1601 P5 11-01:02 S18-102. * * *
The symbols in the above order relate to the following:
2181505: Appropriation symbol for “Organized Reserves, 1948.”
852: Operating agency code for Second Service Command, fiscal year of obligation 1948 designated by digit 8.
1601: Allotment number.
P511: Project account number for “Pay, Travel, and Allowances, and Other Expenses of Reserve Personnel Called to Duty for Training Purposes.”
01: Object class — personal services.
02: Object class — travel.
S18-102: Headquarters, Second Army, Fort George G. Meade, Md.
Upon his release, plaintiff was given a final-type physical examination. He called the examiner’s attention to his difficulty with double vision and his bladder ailment, but the report of medical examination is negative concerning the claimed conditions. A diagnosis of astigmatism was made, and the examiner concluded that the individual was “not permanently incapacitated for general service.”
After completing the above tour of duty, plaintiff returned to his former position as a sales representative of Max Chipen &amp; Sons. However, in June of 1949, he resigned from that position because of ill health.
Upon completion of duty, plaintiff applied for 90 days’ *496active duty training, and was advised on June 17, 1949, that his application could not be considered due to lack of funds. Plaintiff then made application for two weeks’ active duty, effective September 1, 1949, and orders were issued but canceled because plaintiff stated he was unable to accept due to civilian employment.
In early March of 1948, while on duty, plaintiff experienced and was treated for double vision and returned to duty. Plaintiff also experienced some bladder trouble in April of 1948. Neither the vision defect nor the bladder condition prevented plaintiff from performing his assigned duties, and he was able to complete his school course.
Plaintiff subsequently suffered from double vision and bladder trouble and had a complete neurological examination in November of 1949. The doctor’s impression was a lesion in the brain stem region, but that he should be investigated for a tumor or evidence of metastatic disease.
On June 23, 1950, Lt. Comdr. R. G. Berry, at the Naval Hospital in Philadelphia, as a result of several examinations, commented that the possibility of a brain stem tumor is present.
In June and July of 1951, plaintiff was examined by doctors of the Veterans Administration. These doctors observed that “multiple sclerosis must be considered.”
Plaintiff was in the Veterans Administration Hospital from January 7 to January 16, 1952, and the first definite diagnosis of multiple sclerosis was made.
In the opinion of Dr. Albert J. Glass, Colonel, United States Army Medical Corps, a witness for defendant in this action, if the plaintiff had remained on active duty he would have been hospitalized by November 1949 and retired in 1950 for some central nervous system disease. Plaintiff applied for physical disability retirement on October 2,1950, and was advised by the Secretary of the Army that his entire record had been reviewed by the medical authorities and the records failed to reveal the presence of any defect which was permanently incapacitating for general service while on active duty.
A Physical Evaluation Board, on November 2,1954, made the following diagnosis: Sclerosis, multiple; approximate *497date of origin, March 1948. The Board further found that “the individual became Physically Unfit to Perform the Duties of his Office, Bank or Grade on 6 October 1954.” The Board recommended permanent retirement with 30 percent disability.
Plaintiff applied to the Board for Correction of Military Becords for a correction of his record to reflect a discharge due to physical disability on July 31,1948.
The Correction Board requested an opinion of the Surgeon General who replied:
The finding of the physical evaluation board, 2 November 1954, Valley Forge Army Hospital, that Lt. Colonel James D. Morrow, 0-194757, at the time of separation from the service had a physical disability which would have warranted his retirement for such physical disability is concurred in.
The Correction Board then concluded:
1. That the applicant was not permanently physically disqualified for further military service at the time of his relief from active duty on 1 August 1948.
2. That although he may have been treated for a condition during this period of service which was later attributed as being the origin or inception of multiple sclerosis, it was not disabling to an extent which would have warranted his retirement for physical disability at that time.
3. That no error or injustice is shown in the applicant’s release from active duty, not by reason of physical disability, on 1 August 1948 under the laws, rules, regulations and policies then in effect.
Accordingly, the Board recommended that plaintiff’s application be denied. The Secretary of the Army, on February 10, 1955, approved the recommendation of the Correction Board in denying plaintiff’s application.
In this posture of the case, the defendant contends that the duty performed by the plaintiff was not extended military service within the purview of any statute under which plaintiff may claim entitlement to retirement pay for disability. Defendant also contends that the decision of the Board for Correction of Military Becords in denying plaintiff’s application was neither arbitrary nor capricious. How*498ever, for reasons that will be obvious, we do not reach the latter contention.
To recover in the instant case plaintiff’s action must come within the purview of section 5 of the Act of April 3, 1939, 53 Stat. 555, 557, or section 2 of the Act of June 20, 1949, 63 Stat. 201, 202.
Section 5 of the Act of April 3, 1939, supra, provides:
* * * The President is hereby authorized to order annually, * * * for a period of not more than one year for any one officer, for active duty with the regular army, such numbers of Reserve officers, in the grade, of second lieutenant, as are necessary to maintain on active duty at all times not more than one thousand Reserve officers * * *; Provided further, That all officers, warrant officers, and enlisted men of the Army * * *, if called or ordered into the active military service by the Federal Government for extended military service in excess of thirty days, and who suffer disability or death in line of duty from disease or injury while so employed shall be deemed to have been in the active military service during such period and shall be in all respects entitled to receive the same pensions, compensation, retirement pay, and hospital benefits as are now or may hereafter be provided oy law or regulation for officers and enlisted men of corresponding grades and length of service of the Regular Army. [Italic supplied]
Section 2 of the Act of June 20, 1949, supra, provides:
* * * all officers, warrant officers, * * * of the Army of the United States, * * * who—
(1) if called or ordered into the active military service by the Federal Government for extended military service in excess of thirty days suffer disability or death in line of duty from disease while so employed;
❖ * sje
shall be deemed to have been in the active military service during such period and shall be in all respects entitled to receive the same pensions, compensation, death gratuity, retirement pay, hospital benefits, and pay and allowances as are now or may hereafter be provided by law or regulation for officers and enlisted men of corresponding grades and length of service of the Regular Army or the Regular Air Force. [Italic supplied]
*499Section 5, supra, provides for retirement pay if the officer is “* * * called or ordered into the active military service by the Federal Government for extended military service in excess of 30 days * *
Section 2, supra, provides for retirement for disability due to disease if called or ordered into active military service by the Federal Government for extended military service in excess of 30 days.
While plaintiff’s tour of duty was in excess of 30 days, to qualify for retirement pay under either of the above statutes, his duty must be considered as extended military service. In this respect, it is clearly evident from his orders that plaintiff was ordered to “active duty training” in the Military Police School. [Italic supplied]
This court, in the case of Remaley v. United States, 129 Ct. Cl. 159, held that reservists performing training duty did not qualify for retirement even though the officer was under orders for more than 30 days. As a matter of fact, the court stated, at page 161:
We do not agree with the plaintiff’s contention that any duty lasting for more than 30 days is “extended active duty” within the meaning of section 402. We think that “extended active duty” has a distinct statutory meaning, and does not include duty properly designated as training duty, no matter how long the training duty continues.
After having held that “training duty” did not qualify a reservist for retirement, the court remanded the case to the trial commissioner for a determination of whether Eemaley was in fact on training duty.
A trial of the case disclosed that Eemaley was a “trainor” rather than a “trainee” and as such did not come within the prohibition of the statute. Remaley v. United States, 134 Ct. Cl. 874. However, the court in the second Bemaley case reiterated the view that there is a distinction between “active service” and “active duty for training.”
In the instant case the orders clearly state that plaintiff was ordered to “active duty training” at the Military Police School and, as a matter of fact, the findings, which are not *500excepted to, show “* * * be was able to complete bis school course.” (Finding 7.)
Consequently, since plaintiff was ordered to a tour of duty for training purposes, he did not and could not qualify for retirement and retirement pay under the authority of the Remaley case, supra, and his petition is dismissed.1
It is so ordered.
Dureee, Judge^ concurs.

 While the writer of this opinion was and still is of the opinion that duty in excess of 30 days constitutes active military service, the majority of the court then and now believes otherwise. Since no useful purpose could be gained by adhering to my former position, X bow to the will of the court and hold that the Iteyialey case is controlling here.

